                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE


Anirudh Modi
                                              Plaintiff       Case No.: 3:18−cv−00648
v.
                                                              Judge Waverly D. Crenshaw, Jr.
Envision Healthcare Corporation, et al.
                                              Defendant       Magistrate Judge Barbara D. Holmes

          NOTICE OF SETTING OF INITIAL CASE MANAGEMENT CONFERENCE

          Pursuant to Local Rule 16.01, effective January 1, 2001, notice is hereby given that the
initial case management conference is scheduled before Magistrate Judge Barbara D. Holmes,
Courtroom 764, U.S. Courthouse, 801 Broadway, Nashville, TN at 10:00 AM on 9/17/2018.
         LEAD TRIAL COUNSEL FOR EACH PARTY who has been served and who has received
this notice is required to attend the initial case management conference unless otherwise ordered by
the case management judge. Appearance by counsel at the initial case management conference will
not be deemed to waive any defenses to personal jurisdiction. Counsel are advised to bring their
calendars with them to the conference for the purpose of scheduling future dates. Counsel for the
filing party is also advised to notify the courtroom deputy for the Judge before whom the conference
is scheduled if none of the defendants has been served prior to the scheduled conference date.
         Pursuant to Local Rule 16.01(d)(1)b.2, counsel for all parties shall, at the initiative of
PLAINTIFF'S COUNSEL, or COUNSEL THAT REMOVED THE CASE FROM ANOTHER
COURT, prepare and FILE a proposed case management order that encompasses the discovery plan
required by Fed. R. Civ. P. 26(f), the pertinent issues listed in section (d)(1)c and section (d)(2), and
any issues that can be resolved by agreement. IN ADDITION, the proposed case management order
shall be emailed in WordPerfect or Word format to Jeanne_W_Cox@tnmd.uscourts.gov within
THREE (3) business days before the initial case management conference. If the proposed order
CANNOT be FILED on time, PLAINTIFF'S COUNSEL or COUNSEL THAT REMOVED THE
CASE FROM ANOTHER COURT, is responsible for contacting the Magistrate Judge's office
[615−736−5164] to reschedule the conference. FAILURE to obtain service on all defendants should
be called to the Magistrate Judge's attention. FAILURE to file the proposed case management order
electronically can result in sanctions.
       Effective December 1, 2000, Fed. R. Civ. P. 26(a)(1) and April 18, 2005, Administrative
Order No. 167 regarding required initial disclosures and electronic proposed orders applies.

      PURSUANT TO LOCAL RULE 16.01(d)(1)a.1(b), COUNSEL FOR THE PARTY
FILING THIS LAWSUIT MUST SERVE A COPY OF THIS NOTICE ON THE OTHER
PARTIES TO THIS LAWSUIT ALONG WITH THE SUMMONS AND COMPLAINT OR
WITH THE REQUEST FOR WAIVER OF SERVICE UNDER FED. R. CIV. P. 4(d), OR
WITH THE SERVICE COPY OF THE NOTICE OF REMOVAL.


                                                                          CLERK'S OFFICE
                                                                          Middle Districe of Tennessee

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